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                                                             CERTIFICATE OF SERVICE
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DEBTOR 1 NAME: JENNIFER CRUDUP                                                                                  CASE NUMBER: 1700303
DEBTOR 2 NAME:
I       Robert J Wallace, Jr.       certify under penalty of perjury that I have served the attached document on the below
listed entities in the manner shown on 5/25/2017         :


Via Electronic Delivery:

LAW OFFICES OF JOHN T. ORCUTT,ATTN: JASON DAVID WATSON,6616-203 SIX FORKS ROAD,RALEIGH NC 27615

Via U.S. First Class Mail, or electronic service, if such interested party is an electronic filing user,
pursuant to Local Rule 5005-4(9)(b):

AARON RENTS, INC.,1015 COBB PLACE BLVD.,KENNESAW GA 30156
AMERICAN INFOSOURCE LP,agent for T MOBILE USA, INC.,PO BOX 248848,OKLAHOMA CITY OK 73124
AMERICAN INFOSOURCE, LP,as agent for VERIZON,PO BOX 248838,OKLAHOMA CITY OK 73124
AMERICREDIT FINANCIAL SERVICES, INC.,dba: GM FINANCIAL,PO BOX 183853,ARLINGTON TX 76096
CHASE MORTGAGE,PO BOX 24696,COLUMBUS OH 43224-0696
DEPT OF EDUCATION - FEDLOAN SERVICING,ATTN: MANAGER OR REG. AGENT,PO BOX 69184,HARRISBURG PA 17106
DEPT. OF EDUCATION - FEDLOAN SVC.,ATTN: MANAGER OR REG. AGENT,PO BOX 530210,ATLANTA GA 30353
DUKE ENERGY PROGRESS,PO BOX 1771,RALEIGH NC 27602
DUSTIN WADE OWENS,50 PRIVETTE WAY,ZEBULON NC 27597
FIRST CITIZENS BANK,PO BOX 1580,ROANOKE VA 24007
FIRSTPOINT COLLECTION RESOURCES INC,PO BOX 26140,GREENSBORO NC 27402-6140
FLAGSHIP CREDIT ACCEPTANCE,ATTN: OFFICER,PO BOX 3807,COPPELL TX 75019
FLAGSHIP CREDIT ACCEPTANCE,ATTN: OFFICER,PO BOX 975658,DALLAS TX 75397
FRANKLIN REGIONAL MEDICAL CNTR,PO BOX 609,LOUISBURG NC 27549
JENNIFER CRUDUP,50 PRIVETTE WAY,ZEBULON NC 27597
JEREMY HARTSFIELD,266 MULBERRY ROAD,SPRING HOPE NC 27882
NC DEPARTMENT OF REVENUE,ATTN: JEFF EPSTEIN, CHIEF OPERATING OFFICER,PO BOX 871,RALEIGH NC 27602
NC DEPT OF JUSTICE,NC DEPT OF REVENUE,PO BOX 629,RALEIGH NC 27602
NC DEPT OF REVENUE,ATTN: BANKRUPTCY UNIT,PO BOX 1168,RALEIGH NC 27602-1168
NICHOLAS,2454 MCMULLEN BOOTH ROAD,CLEARWATER FL 34619-1334
NORTH CAROLINA DEPT OF REVENUE,POST OFFICE 1168,RALEIGH NC 27602
ONLINE INFORMATION SYSTEM,685 W. FIRE TOWER ROAD,WINTERVILLE NC 28590
OPTIMUM OUTCOMES,ATTN: MANAGER/OFFICER,PO BOX 58015,RALEIGH NC 27658-8015
QUANTUM3 GROUP, LLC,ATTN: MANAGER OR REG. AGENT,PO BOX 788,KIRKLAND WA 98083
RENT-A-CENTER,3110 NEW BERN AVENUE,RALEIGH NC 27610
TOTAL ENVIRONMENT SOLUTIONS,PO BOX 80379,1824 RYDER DRIVE,BATON ROUGE LA 70898
VERIZON WIRELESS,ATTN: MANAGER OR REG. AGENT,500 TECHNOLOGY DR., #550,SAINT CHARLES MO 63304-2225
WAKEMED HEALTH AND HOSPITALS,ATTN: MANAGING AGENT,3000 NEW BERN AVE,RALEIGH NC 27610




By Electronic Transmittal :
By Fax :

I certify that I have prepared the Certificate of Service and that it is a true and correct copy to the best of my knowledge, information
and belief.

Date :         5/25/2017                                 Signature : ________________________________________
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